Case 2:08-cr-00327-SRC                    Document 336             Filed 12/21/09           Page 1 of 2 PageID: 1516




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                                                                 Criminal Action
                          rica
     United statee of Ame                                        a2Z(SRC)

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     V.
                                                                  ORDaR R
                                                                  AXZ COUDXTIO*iS
     Andrew Nerala

          Defenda.nt.



                                                                              in    Charl..eten          West
                         being       a     wrestling         tol3rnament
          Therv
                                                                                   Office       having     no
                              the        2ri:it.d    States     Attozn,ys
     Uirginia          and
                                                                 herein and        Pretrial          Services
                       to th.       relief         requested
     objection
                                                                  good ceue shown
     having approved this reque.t and for
          It is on this                   ay of December G0


          ORDRD AND ADJVIx3D as                          rol1
                                                                           vices. Andrew
               .              act   to        schedule set by Pretrial Ser

                                                         wife    snd    children     to     a    wrestling
     Merola    ntay      travel          with      his

                                                                         on   December          29-30.    Mr.
                         In    Charleston           West   Virginia
     tournament

                                         December December 26.
     Merala may 1eave with hid family on
                                                                shall    be   arvecI        on       Pretrial
          2.       A     ooy        of     tifls     Order

                                    Attorney’. office.
     Services and the United States
Case 2:08-cr-00327-SRC     Document 336     Filed 12/21/09   Page 2 of 2 PageID: 1517



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                                   United State e Oitri ct Couzt
                                   Judqe

     We hereby conent to the entry of this Order


     Sal  tore    AlZt
     Attorney far 4rew tlerola


     Rotald WigiT
     Asi1tant United
     State8 Att      ney



     William S
     United StateG
     ?retrial Service3




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